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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )       8:05CR306
       vs.                                           )
                                                     )       PRELIMINARY ORDER
JAMES L. FARLEY and,                                 )       OF FORFEITURE
STEVEN L. SCHRAWYER,                                 )
                                                     )
                       Defendants.                   )



       NOW ON THIS 30th day of December, 2005, this matter comes on before the Court upon

the United States' Motion for Issuance of Preliminary Order of Forfeiture and Memorandum Brief.

The Court reviews the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I and IV of said Indictment. Count I of said Indictment charges the Defendants with

conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846. Count IV of said

Indictment charges the Defendants with using $5,080.00 and $362.00 in United States currency to

facilitate the commission of the conspiracy and charges said personal properties are derived from

proceeds obtained directly or indirectly as a result of the commission of the conspiracy.

       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.
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        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon Count IV of the Indictment and the Defendants’ pleas of guilty, the United

States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the following-

described properties: $5,080.00 and $362.00 in United States currency

        C. The Defendants’ interest in said properties are hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.,

§ 853(n)(1).

        D. The aforementioned forfeited properties are to be held by the Marshal in his secure

custody and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least once for

three successive weeks in a newspaper of general circulation, in the county where the subject

properties are situated, notice of this Order, notice of the Marshal's intent to dispose of the properties

in such manner as the Attorney General may direct, and notice that any person, other than the

Defendants, having or claiming a legal interest in any of the subject forfeited properties must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the properties, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the




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Petitioner's right, title or interest in the subject properties and any additional facts supporting the

Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 30th day of December, 2005.

                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON, CHIEF JUDGE
                                               United States District Court




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